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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                        V.                                                          (WO)

                    AMY BOLT ROBINSON                                              Case Number: 3:12cr69-MEF-02
                                                                           )       USM Number: 13986-002

                                                                           )       James Roy Houts
                                                                                   Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to count(s)          1 of the           Information on 4/27/2012
E pleaded nolo contendere to count(s)
  which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended                 Count

 1821 13                            Bank Robbery and Incidental Crimes                                       1/31/2011                     1




   See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)

E Count(s)                                                 D is     D are dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          8/28/2012
                                                                           Date of Imposition of Judgment




                                                                         -- Signature ofJudge                                         -        -   - -

                                                                          Mark E. Fuller, United States District Judge
                                                                           Name of Judge                             Title of Judge



                                                                           Date
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet 4—Probation

                                                                                                                          Judgment Page: 2 of 5
 DEFENDANT: AMY BOLT ROBINSON
 CASE NUMBER: 3:12cr69-MEF-02
                                                                 PROBATION
 The defendant is hereby sentenced to probation for a term of:

  Three Years.




 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defedant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, i(applicable)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 E The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a conditbn of probation that thedefendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
           The defendant nust comply with the standard conditions that have been adopted bythis court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so -by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcetient officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.all retrain from
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AO 245B     (Rev. 09/11) Judgment in a Criminal Case
vI          Sheet 4A - Probation

                                                                                                       Judgment Page: 3 of 5
 DEFENDANT: AMY BOLT ROBINSON
 CASE NUMBER: 3:12cr69-MEF-02

                                                ADDITIONAL PROBATION TERMS
  1) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
  court.

  2) The defendant shall provide the probation officer any requested financial information.

  3) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
  in compliance with the payment schedule
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
V1              Sheet 5 - Criminal Monetary Penalties

                                                                                                                    Judgment Page: 4 of 5
 DEFENDANT: AMY BOLT ROBINSON
 CASE NUMBER: 3:12cr69-MEF-02
                                                  CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                     Fine                              Restitution
 TOTALS              $ 100.00                                        $ 0.00                             $ 6,940.00


 LI The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                      Total Loss*              Restitution Ordered Priority or Percenta2e

     MidSouth Bank
     do Jim Pitt                                                                                        $6,940.00
     2513 Glen Brooke Drive
     Auburn, AL 36830




 TOTALS                                                                              $0.00              $6,940.00


 LI Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Rf The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Wf the interest requirement is waived for the         El fine V restitution.

        0 the interest requirement for the           0 fine     0 restitution is modified as follows:



 * Findings for the total anDunt of losses are required under Charters 109A, 110, Il OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
V1            Sheet 6— Schedule of Payments
                                                                                                                        Judgment Page: 5 of 5
 DEFENDANT: AMY BOLT ROBINSON
 CASE NUMBER: 3:12cr69-MEF-02


                                                         SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A V Lump sum payment of $ 7,040.00                            due immediately, balance due

                  not later than                                    , or
                  in accordance           I    C,         D,   Li     E, or     EF below; or

 B Li Payment to begin immediately (may be combined with                      Li C,    LI D, or LI F below); or

 C    F-1 Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                      (e.g., months or years), to  commence                      (e.g., 30 or 60 days) after the date of this judgment;  or

 D    Li Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

 E    Li Payment during the term of supervised release will commence within                  (e.g. 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101 Any balance of restitution remaining at the start of supervision shall be paid at
            the rate not less than $50.00 per month.



 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 Li Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 Li The defendant shall pay the following court cost(s):

 Li The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
